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AO 9l (Rev. I l/11) Criminal Complaint



                                         UMrep Sraru,s Dtsrrucr CoURT
                                                               for the
                                                     District of New Mexico

                  United States of America
                              v.
              Jose Luis Cano, aka Joel Cano
                                                                          caseNo.25-gWN4r


                           Defendant(s)


                                                CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  March 9-23,2025              in the county of               Dona    Ana                          in the

     State   and District of                New Mexico        , the defendant(s) violated:

             Code Section                                                   Offinse Description


18 U.S.c.S1512(cX1)                            Tampering with evidence.



                                               I further state that I am a Homeland Security lnvestigations Special Agent
                                               and that this complaint is based on the following facts:


          This criminal complaint is based on these facts:

SEE ATTACHED AFFIDAVIT




          d Continued on the attached sheet.                                                              Digitally signed by BRIANA R
                                                                                BRIANA R                  VIGIL
                                                                                                          Dalet 2025.04.24   1 9i'l   9i54
                                                                                VIGIL                     {6'00'
                                                                                              Complainant's s i gnoture

                                                                                      Briana Vigil-HSl Special Agent
                                                                                               Printed name and tille


Swomtobefore         *"ffi.
Date: ?,' t/')-

City and state:                     Las Cruces, New Mexico                                  ouratt, United States Magistrate Judge
                                                                                               Printed name and title
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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

                                                 VS

                                  Jose Luis Cano, aka Joel Cano



l.   In January Zl2l,Homeland Security Investigations (HSI), Las Cruces initiated an investigation

     into Cristhian Ortega-Lope z (hereafter identified as Ortega). A tip alleged that Ortega, an illegal

     alien from Venezuela and a suspected member of a criminal gang, was residing with other illegal

     aliens in the United States unlawfully at an address located in Las Cruces, New Mexico (hereafter

     identified as Premises) and was in possession of firearms. Nancy and Jose Cano are the owners of

     the Premises.

2.   On February 28,2025,two residential federal search warrants were executed, with one

     being at the Premises, in connection with Ortega. Ortega was arrested, is currently

     charged with l8 USC 922(gX5) - Illegal Alien in Possession of Firearms or Ammunition,

     and was booked into the Doffa Ana County Detention Center (DACDC) pending criminal

     proceedings. Four firearms previously seen in Ortega's possession in photos on social

     media were seized from the other residence that was searched simultaneously, and three

     of Ortega's cell phones were also seized from the premises owned by the Canos.

J.   Additionally, on February 28,2025,the day the search warrants described above were

     executed and Ortega was taken into custody, agents permitted Ortega to make a phone

     call before being transported to DACDC. Agents provided Ortega access to the mobile

     devices that had been seized. Ortega stated that the phone containing the number he

     wished to call was not among the mobile devices available to him. Based on this

     interaction, law enforcement formed the belief that one of Ortega's mobile devices may

     not have been recovered during the execution ofthe search warrant.
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4. The residential search warrants also authorized the forensic analysis of the cell phones
   seized at the residences. In addition, law enforcement asked Ortega for consent to search

   the cell phones belonging to him. Ortega agreed and signed the consent form. During the

   analysis of the phones belonging to and utilized by Ortega, messages were obtained from

   at least one of his Facebook accounts. The messages reflect Ortega's Tren de Aragua

   affiliation and photos of Ortega in possession of firearms and ammunition. The deletion

   of these accounts would hinder the investigation and destroy evidence pertaining to

   Ortega's criminal case.

5. On April 24,2025, HSI agents executed a search warrant at the residence of Jose and
   Nancy Cano looking for what was believed to be Ortega's cellphone that was not

   recovered on February 28,2025, and for Nancy Cano's cellphone. After being advised of

   his Miranda rights, Jose Cano agreed to speak to agents.

6. During the interview, Jose Cano admitted, among other things, that he destroyed the
    cellphone that belonged to Ortega by smashing it with a hammer and discarded the

    remaining pieces in the city trash dumpster approximately five weeks ago.

7. Specifically, Jose Cano stated that he destroyed the cellphone and further admiued that he
    believed the cellphone contained photos or videos that would reflect negatively on

    Ortega. Through further questioning, agents ascertained that Jose Cano destroyed the

    cellphone believing that it contained photographs of Ortega holding firearms that Ortega

    had uploaded onto social media platforms which would be additional incriminating

    evidence against him.

8. Because this affidavit is being submitted for the purpose of establishing probable cause to
    believe Jose Cano violated 18 U.S.C. $ 1512(c)(l): Tampering with Evidence, as set forth
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       herein, I have not included each and every fact known to me concerning this

       investigation. I make this affidavit on the basis of my personal knowledge and

       information furnished to me by other law enforoement offrcers.



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                                                      Briana Vigil
United $6/tes Magistrate Judge                        Special Agent
                                                      Homeland S eourity Investigations
